USCA Case #25-5055               Document #2108408             Filed: 03/29/2025   Page 1 of 2
                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 25-5037                                                     September Term, 2024
                                                                            1:25-cv-00412-RC
                                                           Filed On: March 29, 2025
Cathy A. Harris, in her personal capacity and
in her official capacity as Member of the Merit
Systems Protection Board,

                 Appellee

        v.

Scott Bessent, in his official capacity as
Secretary of the Treasury, et al.,

                 Appellants

------------------------------

Consolidated with 25-5055
------------------------------

No. 25-5057
                                                                           1:25-cv-00334-BAH
Gwynne A. Wilcox,

                 Appellee

        v.

Donald J. Trump, in his official capacity as
President of the United States and Marvin E.
Kaplan, in his official capacity as Chairman of
the National Labor Relations Board,

                 Appellants


        BEFORE:           Henderson, Millett, and Walker, Circuit Judges

                                             ORDER

        Upon consideration of the emergency motions for administrative stay, it is
USCA Case #25-5055      Document #2108408               Filed: 03/29/2025     Page 2 of 2



               United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                   ____________
No. 25-5037                                              September Term, 2024

      ORDERED that appellants file a combined response to the motions by 5:00 p.m.
on Sunday, March 30, 2025.

                                     Per Curiam


                                                       FOR THE COURT:
                                                       Clifton B. Cislak, Clerk

                                               BY:     /s/
                                                       Emily Campbell
                                                       Deputy Clerk




                                        Page 2
